         Case 3:15-cv-00673-RNC Document 171 Filed 08/30/18 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

MATTHEW D. WILLIAMS

       v.                                      Civ. NO. 3:15 CV 673 (RNC) (DFM)

RUSHMORE LOAN MANAGEMENT SERVICES LLC.


                                  NOTICE OF SETTLEMENT

       On July 31, 2018, the parties agreed to a monetary settlement. Plaintiff expects that the

settlement documents will soon be finalized and the agreed-upon payment will be made by

September 15, 2018.



                                      THE PLAINTIFF



                                         BY_____________________________
                                            JOANNE S. FAULKNER ct04137
                                                   123 Avon St
                                            New Haven, CT 06511-2422
                                                (203) 772-0395

Certificate of Service

I hereby certify that on August 30, 2018, a copy of within was filed electronically. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system.
Parties may access this filing through the Court’s system.

                                                           ____/s/ Joanne S. Faulkner___
                                                       JOANNE S. FAULKNER ct04137
